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   V.ROY LEFCOURT (SBN 49950)
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   San Francisco, CA 94115
 2 (415) 776-0207

 3 Attorney for Defendant
   FRANCES ALIGANGA
 4

 5                                   UNITED STATES OF AMERICA
 6                              NORTHERN DISTRICT OF CALIFORNIA

 7                                        OAKLAND DIVISION

 8

 9 UNITED STATES OF AMERICA,                      ) No.: CR-05-00454 CW
                                                  )
10           Plaintiff,                           )
                                                  ) ORDER TO RECONVEY
11      v.                                        ) REAL PROPERTY
                                                  )
12
     FRANCES ALIGANGA,                            )
13                                                )
             Defendant.                           )
14                                                )
15 Equity in real property located at: 1221 Humphrey Drive, Suisun, CA 94585 was deposited in lieu

16 of bail in the above entitled action by Deed of Trust recorded on August 5, 2005 by the recorder
   for the County of Solano.
17
   Bail deposited has been exonerated by operation of law/Order of Court and County of Alameda
18 as beneficiary having no further claim to said property.

19
     IT IS HEREIN ORDERED THAT
20
     Trustors Security Service, Trustee shall reconvey said real property
21
                                                                  S DISTRICT
     Patrick and Rochelle Siu, Trustor.                        ATE           C
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23
     DATED: January 27, 2006                                 IT IS S
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25                                                                Judge W
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                                                  U.S. MAGISTRATE JUDGE WAYNE D. BRAZIL

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